     Case: 1:18-cv-06898 Document #: 41 Filed: 02/20/19 Page 1 of 1 PageID #:293

                      UNITED STATES DISTRICT COURT
            FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                 Eastern Division

Terrell Barker
                                    Plaintiff,
v.                                                       Case No.: 1:18−cv−06898
                                                         Honorable John Z. Lee
Vital Pharmaceuticals, Inc
                                    Defendant.



                         NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Wednesday, February 20, 2019:


        MINUTE entry before the Honorable John Z. Lee:Pursuant to Plaintiff's notice of
voluntary dismissal pursuant to Federal Rule of Procedure 41(a)(1)(A)(i), the Court
dismisses this case without prejudice. The rule authorizes a plaintiff to dismiss an action
on his own without seeking a court order by filing "a notice of dismissal before service by
the opposing party serves either an answer or a motion for summary judgment. Fed. R.
Civ. P. 41(a)(1)(A)(i); see Winterland Concessions Co. v. Smith, 706 F.2d 793, 795 (7th
Cir. 1983). Because Defendant has not served Plaintiff with an answer or a motion for
summary judgment, Plaintiff's notice satisfies the express time requirements of Rule
41(a)(1)(A)(i). All pending motions are stricken as moot. Civil case terminated.Mailed
notice(ca, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
generated by CM/ECF, the automated docketing system used to maintain the civil and
criminal dockets of this District. If a minute order or other document is enclosed, please
refer to it for additional information.

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